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 6
 7   Attorney for Plaintiff Capirtia Johnson

 8                         IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF ARIZONA
 9
10                                                   ) No.: _
     Capirtia Johnson,
                                                     )
11                  Plaintiff,                       )
                                                     ) COMPLAINT AND DEMAND FOR
12          vs.                                      ) TRIAL BY JURY
                                                     )
13                                                   )
     Firstcredit, Inc.,                              )
14                                                   )
                    Defendant                        )
15                                                   )
                                                     )
16
17
18          Plaintiff Capirtia Johnson ("Plaintiff") by and through her attorneys, Ballon Stoll Bader
19
     & Nadler, P.C. as and for her Complaint against Defendant Firstcredit, Inc., ("Defendant")
20
     respectfully sets forth, complains and alleges, upon information and belief, the following:
21
22
23                                   JURISDICTION AND VENUE
24   1. The Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1331, as well as 15 U.S.C.
25
        § 1692 et seq. and 28 U.S.C. § 2201.
26
     2. Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b)(2).
27
28
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 1   3. Plaintiff brings this action for damages and declaratory and injunctive relief arising from the

 2      Defendant's violation(s) of 15 U.S.C. § 1692 et seq., commonly known as the Fair Debt
 3      Collections Practices Act (“FDCPA”).
 4
 5
                                                 PARTIES
 6
 7   4. Plaintiff is a resident of the State of Arizona, residing in the County of Maricopa.

 8   5. Defendant is a "debt collector" as the phrase is defined in 15 U.S.C. § 1692(a)(6) and used in
 9      the FDCPA, with an address at 3250 W. Market St., Ste. 304, Akron,OH 44333.
10
11
                                       FACTUAL ALLEGATIONS
12
13   6. Plaintiff incorporates by reference all of the above paragraphs of this Complaint as though

14      fully stated herein with the same force and effect as if the same were set forth at length
15      herein.
16
     7. On information and belief, on a date better known to Defendant, Defendant began collection
17
        activities on an alleged consumer debt from the Plaintiff (“Alleged Debt”).
18
19   8. The Alleged Debt was incurred as a financial obligation that was primarily for personal,

20      family or household purposes and is therefore a “debt” as that term is defined by 15 U.S.C.
21      § 1692a(5).
22
     9. The reporting of a debt to a credit reporting agency by a debt collector is a communication
23
        covered by the FDCPA.
24
25   10. Defendant reported the Alleged Debt on the Plaintiff’s credit report.

26   11. Plaintiff disputed the Alleged Debt directly with the Defendant with a dispute letter on July
27      28, 2015.
28



                                                      2
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 1   12. Plaintiff examined her credit report again on September 15, 2015 and found that Defendant

 2      had failed to remove the account or list the account as ''disputed by consumer'' despite being
 3      required to do so by the FDCPA.
 4
     13. As a result of Defendant's improper debt collection practices described above, Plaintiff has
 5
        been damaged.
 6
 7
                                       FIRST CAUSE OF ACTION
 8                                      (Violations of the FDCPA)
 9   14. Plaintiff incorporates by reference all of the above paragraphs of this Complaint as though
10
        fully stated herein with the same force and effect as if the same were set forth at length
11
        herein.
12
13   15. Defendant's debt collection efforts attempted and/or directed towards Plaintiff violate various

14      provisions of the FDCPA, including but not limited to 15 U.S.C. §§ 1692d, 1692e(2),
15      1692e(5), 1692e(8), and 1692f.
16
     16. As a result of the Defendant's violations of the FDCPA, Plaintiff has been damaged and is
17
        entitled to damages in accordance with the FDCPA.
18
19
20                                  DEMAND FOR TRIAL BY JURY
21   17. Plaintiff demands and hereby respectfully requests a trial by jury for all claims and issues in
22
        this complaint to which Plaintiff is or may be entitled to a jury trial.
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 1                                      PRAYER FOR RELIEF

 2   WHEREFORE, Plaintiff demands judgment from the Defendant as follows:
 3          a)     For actual damages provided and pursuant to 15 U.S.C. § 1692k(a)(1);
 4
            b)     For statutory damages provided and pursuant to 15 U.S.C. § 1692k(a)(2)(A);
 5
            c)     For attorney fees and costs provided and pursuant to 15 U.S.C. § 1692k(a)(3);
 6
 7          d)     A declaration that the Defendant’s practices violated the FDCPA; and

 8          e)     For any such other and further relief, as well as further costs, expenses and
 9   disbursements of this action as this Court may deem just and proper.
10
11
12
                                                 DATED, this 9th day of February, 2016
13
                                                               s/Avraham Cutler
14
                                                         Avraham Zvi Cutler
15                                                       Ballon Stoll Bader & Nadler
                                                         Attorneys for Plaintiff Capirtia Johnson
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